           Case 1:19-cv-03309-JLC Document 51 Filed 01/08/20 Page 1 of 1
                                                                             USDC SDNY
                                                                             DOCUMENT
                                                                             ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                                 DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                                              1/8/2020
                                                                             DATE FILED: ______________
---------------------------------------------------------------X
CHUNHONG MEI, on behalf of herself and                         :
others similarly situated,                                     :
                                                               :
                           Plaintiff,                          :   ORDER
                                                               :
         -v-                                                   :   19-CV-3309 (JLC)
                                                               :
DP HOSPITALITY GROUP, LLC, et al.,                             :
                                                               :
                           Defendants.                         :
---------------------------------------------------------------X

JAMES L. COTT, United States Magistrate Judge.

        The Court held a telephone conference today to address outstanding issues in the parties’

proposed settlement agreement, dated January 6, 2020 (Dkt. No. 50). As discussed, the parties

are directed to file a revised and executed settlement agreement for the Court’s review by

January 17, 2020.

        SO ORDERED.

Dated: January 8, 2020
       New York, New York
